          Case 8:10-cr-00419-JSM-TGW Document 145 Filed 01/05/12 Page 1 of 6 PageID 790
AO 245B (Rev 06105) Sheet I - Judgmen t in a C rimirnlll Cue:



                                  UNITED STATES DISTRICT COURT
                                                                MIDDLE DISTRlCT OF FLORlDA
                                                                     TAMPA DIVISION




UNITED STATES OF AMERlCA                                                 JUDGMENT IN A CRIMINAL CASE

                                                                         CASE NUMBER:      8: 1O-CR-419-T-30TGW
                                                                         USM NUMBER:       53666-018



JOSEPI-I MICHAEL COLE
                                                                         Defendant's Attorney : Howard Anderson AFPD

THE DEFENDANT:

1L pleaded guilty to count(s) One of the Indictment.
_ pleaded nolo contendere [0 counl(S) which was accepted by the court.
_ was found guilty on count(s) after a plea of not guilty.


TITLE & SECTION                             NATURE OF OFFENSE                           O FFENSE ENDED             COUNT

21 U.S.C. § 841(b)(I)(B)('ii)               Conspiring to Manufacture                   September 30, 2010         One
                                            100 or More Marijuana Plants


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The senlence is imposed pursuant to the
Sentencing Refonn ACI of 1984.

_ The defendant has been found nOI guilty on count(s)
L  COUnt(s) Two of the Indictment (is)(are) dismissed on the motion of the United States .

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name , residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment arc fully paid .
If ordered to pay restitulion, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                        Date of Imposition of Sentence: January 4 , 2012




                                                                                        DAT E: Janua.. T--'<L-_
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02453 (Rev ()61()5) Sheet 2 - Imprisonment (Jl.ldgmem in a Crimina! Case)
Defendant :         JOSEPH MICHAEL COLE                                                                           Judgment - Page 2 of 6
Cast: No.:          8: iO-CR-419-T-30TGW

                                                                 IMPRISONMENT

                The defendant is hereby committed to the custody of the Uniled States Bureau of Prisons to be
imprisoned for a term of TEN (10) MONTHS .,



Defendant shaH be given credit toward the service of a term o f imprisonment for any lime he/she has spent in official detention prior 10
the date the sentence commences -- (\) as a result of the offense for which the sentence was imposed; or (2) as a result of any other charge
for which the Defendant was arrested after the commission oflhe offense for which the sentence was imposed; thai has not been credited
against another sentence. 18 U.S.c. § 3585(b) .




.....L The Court makes the following recommendations to the Bureau of Prisons : The Court recommends confinement in a
facility in Florida , and if eligible, participation in the 500 Hour Residential Drug Abuse Program (RDAP)




..lL The defendant is remanded 10 Ihe custody of the United States Marshal.
    The defendant shall surrender to the United Stales Marshal for this district.

          _ at _ a.m .fp.m. on _.
          _ as notified by the United States Marshal.

_ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          _ before 2 p.m. on_.
          _ as notified by the United Statt:s Marshal.
          _ as ootitied by the Probation or Pretrial Services Office.




                                                                            RETURN
           I have executed this judgment as follows:




           Defendant delivered on _ _ _ _ __ ________ 10 _ _ _ _ _ _ _ _ _ __ _ __ _ _ _ _ __

at _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ , with a certified copy of this judgment.



                                                                                         UnilCd States Marshal

                                                                            By , ____ _ _ _ _ _ _ _ __ _ __ _ ___
                                                                                         Deputy United States Marshal
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AO 245R (R~v. 06/05) Sheet 3 - SUjJ<'rviscd Release (Jutlgment in a Criminal Case)

Defendant:            JOSEPH MICHAEL COLE                                                                                     Judgment - Page 3 of 6
Case No.:             8: IO-CR-419-T-30TGW
                                                               SUPERVISED RELEASE
           Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS.

         The defendant must report to the probation office in the district to whieh the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall nOl unlawfully possess a controlled substance . The defendant shall refrain from any unlawful usc of a controlled
substance. The defendant shall submit to one drug test within 15 days of release fr om imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
           substance abuse. However, the Court orders thc defendant to submilto random drug testing not to exceed l04tes\s per year.
           (Check, if applicable).

           The defendant shall nOI possess a firearm, destructive device, or any other dangerous weapon . (Check, if applicable .)

l          The defendant shall cooperate in the collection of DNA as directed by the probation o fficer. (Check, if applicable.)

           The defendant shall register with the slate sex offender registration agency in the state where the defendant resides, works or
           is a student, as directed by the probation officer. (Check, if applicable.)

           The defendant shall participate in an approved program for domestic violence . (Check, if applicable. )

             If this judgment imposes a tine or restitution it is a condition of supervised release that the defendant pay in accordance with
             the Schedule of Payments sheet of this judgment.

             The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
             conditions on the attached page .

                                                STANDARD CONDITIONS OF SUPERVISION
    I)       the defendant shall not leave the judicial district without the permission of the court or probation oflicer;

    2)       the defendant shall report to the probation officer and shall submit a truthful and complete wrinen report in the manner and frequency
             directed by the court or probation officer;

    3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

    4)       the defendant shall support his or her dependents and meet other family responsibi li ties:

    5)       the defendant shall work regularly al a lawful occupation. unless excused by the probation orncer for schooling, training. or other
             acceptable reasons:

    6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

    7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, usc, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:

    8)       the defendant shall not frequent places where controlled substances arc illegally sold, used. distributed. or administered;

    9)       the defendant shall not associme with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;

    10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;

    I I)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:

    12)      the defendant shall nOI enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and

    13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
             or personal history or characteristics and shall permit the probation officer to make such notitic;lIions and to confirm the defendant's
             compliance with such notification requirement.
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AO 24SIJ (Rev. 06/0S) Sheet 3C - Supervised Release (ludgmem in a Criminal Case)

Defendant :          JOSEPH MICHAEL COLE                                                                        Judgment - Page 4 of 6
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                                             SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall also comply with the following additional conditions of super vised releasr::

.x        The defendant shall participate in a substance abuse program (outpatient and/o r inpatient) and fol low the probation officer's
          instructions regarding the implementation of this court directivc. Further , the defendant shall contribute to the costs of these
          services nOt to exceed an amount determincd reasonable by the Probation Officer 's Sliding Scale for Substance Abuse
          Treatment Services . During and upon completion of this program , the defendant is di rected to submit to random drug testing .


.K..      The defendant shall participate as directed in a program of mental health treatment approved by the Probation Oflicer.
          Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount
          determined reasonable to by Probation Officer based on ability to payor availability of third party payment and in conformance
          with the Probation Office's Sliding Scale for Mental Health Treatment Services.
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AD 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (luJgmcm in a Crim inal Case)

Defendant:          JOSEPH MICHAEL COLE                                                                                   Judgment - Page 5 of 6
Case No .:          8: 1O-CR-419-T-30TGW

                                               CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                               Assessment                                                                 Total Restitution

          Totals:              $100 .00                                   Waived                          N/A


          The determination of restitution is deferred until                        An Amended Judgment in a Criminal Case (AO 245C) will
          be entered after such determination .
          The defendant must make resliLUtion (including community resticucion) to the following payees in the amOUIl{ listed
          below .
          If the defendant makes a partial paymem, each payee shal l receive an approximately proportioned payment, unless
          specified otherwise in the priority order or pcrcemage payment column below. However, pursuant to 18 U .S.C. §
          3664(i), all non-federal victims must be paia before the United States.


 Name of Payee                                      Total Loss·                     Restitution Ordered                   Pr ioritv or Percentage




                                                                                    _$-

          Restitution amount ordered pursuant to plea agreement S _ _ __ _ __

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenlh day after the date of the judgment , pursuant to 18 U .S .C. § 3612(1). AI! of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).
          The court determined that the defendant does not have the ability to pay interest and il is ordered that :
                    the interest requirement is waived for the _             fine         restitution .
                    the interest requirement for the _           fine _        restitution is modified as follows:


)/; Findings for the total amount of losses are requ ired under Chapters 109A , 110, I IOA, and 113A of Title 18 for the o ffenses committed
on or after September 13, 1994 , but before April 23, 1996.
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AO 2453 (Rcy 06105) Shttt 6 • Schedule of PaymenlS (Judgment in a Criminal Case)

Derendant :         JOSEPH MICHAEL COLE                                                                           Judgment - Page 6 of 6
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                                                         SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total c riminal monetary penalties are due as follow s:

A.        ...x..     Lump sum payment ofS 100.00 due immediately. balance due
                                      not later than _____ , or
                                      in accordance _          C, _       D, _     E or _   F below; or
u.                   Payment to begin immediately (may be combined with _                   C, _    D, or __ F below); or
c.                   Payment in equa l                (e.g. , weekly, momhly, quarterly) installments of $            over a
                     period of          (e.g., months or years), to commence             days (e.g., 30 or 60 days) after the
                     date of this judgmem; or
D.                   Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarte rly) installments of S _ _ _ _ over a
                     period of
                      ~""-,;;"""'~' (e.g., months or years) to commence _ _ _ _ _ (e.g. 30 or 60 days) after release
                     trom imprisonment to a term of supervision; or
E.                   Payment during the term of superv ised release will commence within                          (e.g., 30 or
                     60 days) after release from imprisonment . The court will set the payment plan based on an assessment of
                     the defendalll's ability to pay at that time, or
F.                   Special instructions regarding (he paymem of c riminal monetary penalties:




Unless the court has expressly orde red otherwise, if this judgment imposes imprisonment, payment of c rim inal monetary
penall ies is due during Imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financ ial Responsibility Program, are made to the clerk of the court .
The defendant shall receive credit fo r all payments prev iously made toward any criminal monetary penalties imposed.
          Joint and Several
         Dcfendam and Co-Defendant Names and Case Numbers (including defendant number), Total Amount , Joint and
Severa l Amount. and correspondi ng payee, if appropriafe:


          The defendam shall pay the cost of prosecution.
          The defendant shall pay the fo llowing cou rt cost(s):
          The dcfendam sha ll forfeit the defendam's interest in the following prope rty to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) tine principal , (5)
tine intcrcst, (6) communilY reslitution, (7) penalties, and (8) CostS, including cost of prosecution and court costs.
